          Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 1 of 33




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

JANE DOE,                                                  §
                                                           §
         Plaintiff,                                        §          CIVIL ACTION NO. ________
                                                           §
                  V.                                       §
                                                           §           JURY TRIAL DEMANDED
                                                           §
                                                           §
OGLETHORPE UNIVERSITY                                      §
                                                           §
         Defendant.                                        §

         PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

         COMES NOW, Plaintiff, Jane Doe (hereinafter “Plaintiff”), and files this

Original Complaint (hereinafter “Complaint”) and Jury Demand complaining of

Oglethorpe University (hereinafter “Oglethorpe” or “Defendant University”). In

support thereof, Plaintiff would respectfully show this Court the following:

                                                I.       PARTIES

             1. Plaintiff Jane Doe1 is a cisgender female individual, who, at the time



1
  Consistent with other federal courts’ treatment of party names in highly sensitive cases that arise under Title IX of
the Education Amendments of 1972 and involve sexual assault, see, e.g., Doe v. Erskine College, Case No.
8:04-23001, 2006 WL 1473853 (D.S.C. May 25, 2006), and to protect the privacy, safety, and dignity of Plaintiff
and her family, Plaintiff is proceeding anonymously in this pleading. To the extent necessary, Plaintiff will seek
appropriate relief from the Court to continue to proceed in this fashion and to otherwise protect her anonymity
throughout the instant litigation. Fairly applying this concern, the Complaint also identifies the perpetrator of rape as
“Assailant.” Finally, the Complaint does not use the Plaintiff’s administrators’ names but identifies them as
“Administrator” or by their titles as opposed to naming the staff of Defendant University.

                                                           1
       Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 2 of 33




of the sexual assault complained of herein, was a student attending Oglethorpe

University.

      2.      Defendant Oglethorpe University is a private educational institution

with its campus located in Atlanta, Fulton County, Georgia. Oglethorpe may be

served with process by serving its registered agent, Regina Mincberg, 4484

Peachtree Road NE Atlanta, Georgia 30319.

                         II.    JURISDICTION AND VENUE

      3.      The Court has subject matter jurisdiction over this case pursuant to 28

U.S.C. § 1331, which gives district courts original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties of the United States.

      4.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), since

Defendant University resides or resided in this district and the events or omissions

giving rise to the claim occurred in this district.

      5.      This Court also has subject matter jurisdiction pursuant to 28 U.S.C. §

1343, which gives district courts original jurisdiction over (a) any civil action

authorized by law to be brought by any person to redress the deprivation, under

color of any State Law, statute, ordinance, regulation, custom or usage, of any

right, privilege or immunity secured by the Constitution of the United States or by

any Act of Congress providing for equal rights of citizens or of all persons within

                                            2
       Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 3 of 33




the jurisdiction of the United States; and (b) any civil action to recover damages or

to secure equitable relief under any Act of Congress providing for the protection of

the civil rights.

       6.     Plaintiff brings this action to redress a hostile educational environment

pursuant to Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a),

as more fully set forth herein. This action is brought pursuant to 42 U.S.C. § 1983

and § 1988, and the Fourth Amendment to the United States Constitution, made

applicable to Defendants through the Fourteenth Amendment to the United States

Constitution.

       7.     Plaintiff further invokes the supplemental jurisdiction of this Court,

pursuant to 28 U.S.C. § 1367(a), to hear and decide claims arising under state law

including breach of contract and negligence.

                              III.   APPLICABLE LAW

       8.     Title IX of the Education Amendments of 1972 (“Title IX”), 20

U.S.C. § 168l(a), states that: “No person in the United States shall, on the basis of

sex, be excluded from participation in, be denied the benefit of, or be subjected to

discrimination under any education program or activity receiving Federal financial

assistance .... “




                                           3
       Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 4 of 33




      9.     Title IX is implemented through the Code of Federal Regulations. See

34 C.F.R. Part 106. 19. 34 C.F.R. § 106.8(b) which provides: “ ... A recipient shall

adopt and publish grievance procedures providing for prompt and equitable

resolution of student and employee complaints alleging any action which would be

prohibited by this part.”

      10.    In Gebser v. Lago Vista Independent School District, 524 U.S. 274

(1988), the United States Supreme Court recognized that a recipient of federal

educational funds intentionally violates Title IX, and is subject to a private

damages action, where the recipient is “deliberately indifferent” to known acts of

discrimination.

      11.    In Davis v. Monroe County Board. of Education, 526 U.S. 629 (1999),

the United States Supreme Court extended the private damages action recognized

in Gebser to cases where the harasser is a student, rather than a teacher. Davis held

that a complainant may prevail in a private Title IX damages action against a

school district in cases of student-on-student harassment where the funding

recipient is: a) “deliberately indifferent to sexual harassment of which the recipient

has actual knowledge,” and b) “the harassment is so severe, pervasive, and

objectively offensive that it can be said to deprive the victims of access to the




                                          4
       Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 5 of 33




educational opportunities or benefits provided by the school.” Davis, 526 U.S. at

1669-76.

      12.    Title IX jurisprudence as well as Department of Education regulations

have long recognized that a single event of rape constitutes harassment so severe,

pervasive and objectively offensive that it deprives its victims of access to the

educational opportunities provided by the school: “The more severe the conduct,

the less need there is to show a repetitive series of incidents to prove a hostile

environment, particularly if the harassment is physical. Indeed, a single or isolated

incident of sexual harassment may create a hostile environment if the incident is

sufficiently severe. For instance, a single instance of rape is sufficiently severe to

create a hostile environment.” U.S. Department of Education, Office of Civil

Rights, “Dear Colleague” Letter of April 4, 2011.

      13.    Regardless, in the circumstances giving rise to the claims of this

Plaintiff, and others, a history of student harassment and assault, resulting from

deliberate indifference, has been allowed to continue at the Defendant University

for many years.

      14.    Georgia law provides protections for students and requires the

exercise of reasonable care on the part of the University.




                                          5
       Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 6 of 33




       15.   Georgia law provides for the protection of invitees from foreseeable

criminal harm.

      16.    Georgia law also provides for a cause of action of breach of contract.

Plaintiff has an educational contract with the Defendant University that included

agreements and duties to provide adequately for their safety, to adequately and in

compliance with law report instance of sexual assault and/or harassment the breach

of which cause the damages claimed herein.

                        IV.    GENERAL ALLEGATIONS

      17.    At all relevant times, Oglethorpe received federal funding for its

academic programs and activities and was subject to the requirements of Title IX

of the Education Amendments of 1972, 20 U.S.C. 1681(a) (hereinafter, “Title IX”).

      18.    The Defendant University implemented and executed policies and

customs in regard to the events that resulted in the deprivation of Plaintiff’s

constitutional, statutory, and common-law rights.

      19.    The Defendant University received reports from Plaintiff concerning

the rape she experienced while at the Defendant University.

      20.    The Defendant University failed to promptly and adequately

investigate the event Plaintiff reported in violation of Title IX.




                                           6
       Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 7 of 33




      21.    The Defendant University failed to adequately investigate the assault

Plaintiff endured of which Defendant had either actual or constructive notice.

      22.    Upon information and belief, the Defendant University failed to report

the criminal acts involved in the reports it received from Plaintiff in violation of its

obligations under the Clergy Act.

      23.    At all times relevant to this Complaint, Defendant failed to protect

Plaintiff, and others from sexual assault on campus.

      24.    Plaintiff was a student at Oglethorpe starting in 2017. Upon her arrival

at Oglethorpe, Plaintiff became acquainted with her assailant, an Oglethorpe track

and field athlete (hereinafter “Assailant”).

      25.    Upon information and belief, Assailant transferred to Oglethorpe from

another university under suspicious circumstances, namely being that he exited his

previous university after a Title IX investigation against him for sexual assault of a

female student.

      26.    Upon information and belief, Oglethorpe was aware or reasonably

should have been aware of Assailant’s history as a sexual predator prior to his

arrival on Oglethorpe’s campus and yet Oglethorpe chose to still accept him into its

program and allowed him to prey on vulnerable female students.




                                           7
       Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 8 of 33




      27.    In April of 2019, Plaintiff was raped by Assailant. She promptly and

bravely reported her assault to Oglethorpe in May 2019, just a few days later.

      28.    Plaintiff’s sexual assault, like countless others, occurred during what

has become known as a time of indifference by universities and Title IX officials in

response to reports of assault. This has proven especially true where the rape is

perpetuated by an athlete during a time of growth for the program.

      29.    Upon information and belief, Assailant had sexually assaulted other

female students at Oglethorpe prior to Plaintiff’s incident and Oglethorpe was

aware of these prior incidents. The occurrence of Assailant sexually assaulting

female students at Oglethorpe was so frequent that Oglethorpe had its own Title IX

investigation dedicated just for him.

      30.    Additionally, Plaintiff’s sexual assault, like countless others, resulted

in a startling absence of consequences and/or inadequate consequences to her

assailant, and little to no comfort or support to Plaintiff.

      31.    Prior to Plaintiff’s arrival at Oglethorpe, Oglethorpe officials

permitted a campus condition rife with sexual assault and completely lacking the

basic standards of support for victims as required by federal and state law. This

case arises from Oglethorpe’s deliberately indifferent response to Plaintiff’s report

of student-on-student sexual assault.

                                            8
       Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 9 of 33




      32.    As a direct and proximate result of the harassing educational

environment created by Oglethorpe’s deliberately indifferent response to the sexual

assault and subsequent harassment of Plaintiff, as well as violations of her state and

federal legal rights, Plaintiff has suffered and continues to suffer untold

psychological damage, profound emotional distress, permanent loss of standing in

her community and damage to her reputations, and her future relationships have

been negatively affected.

      33.    Plaintiff has also been deprived of a normal college education due to

Oglethorpe’s conduct and the resulting educational environment which Oglethorpe

caused.

      34.    Plaintiff has also been damaged by missed educational opportunities.

      35.    Moreover, Oglethorpe’s failure to promptly and appropriately

investigate and respond to assaults such as Plaintiff’s furthers sexual harassment

and a hostile environment and perpetuates the rape culture which resulted in

Plaintiff’s pain, anguish, and damages.

      36.    Oglethorpe’s failure to promptly and appropriately investigate and

respond to Plaintiff’s specific report resulted in damages to Plaintiff, including

mental and physical pain and anguish, past and future.




                                          9
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 10 of 33




      37.     Finally, Oglethorpe’s failures to promptly and appropriately

administer its own Title IX procedures effectively denied Plaintiff, and other

female students, access to educational opportunities. Plaintiff brings this action to

redress a hostile educational environment pursuant to Title IX.

      38.     Further, Oglethorpe’s lack of any kind of sufficient disciplinary action

against a track and field athlete in the wake of a credible report of assault belies

Oglethorpe officials’ priorities in investigating instances of sexual assault on

Oglethorpe’s campus.

         V.     OGLETHORPE’S HISTORY OF SEXUAL VIOLENCE ON
                             CAMPUS

      39.     College campuses in general are no strangers to sexual violence,

especially towards females, and Oglethorpe is no exception. Oglethorpe has a

history of mishandling sexual assault complaints so much so that it prompted an

investigation by the U.S. Department of Education in 2015. The Complainant

alleged that the University engaged in discrimination on the basis of sex against

said Complainant when it failed to respond to a notice of student-on-student sexual

violence in a prompt and equitable manner. According to a federal database,

Oglethorpe had one sexual assault reported in 2012 and another sexual assault

reported in 2013.



                                          10
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 11 of 33




      40.    At the time of the investigation in 2015, Oglethorpe stated that it

“…takes all complaints of sexual misconduct seriously, is dedicated to complying

with Title IX and is deeply committed to ensuring the safety and well-being of its

students and the entire University community.” Those words ring hollow in the

face of Plaintiff’s recent sexual assault and other students’ sexual assaults since the

University released that statement.

      41.    A disturbing thirty-four (34) minute video by a sexual assault survivor

entitled “Oglethorpe University is not Safe” surfaced on YouTube in July 2019,

outlining just how insidious and dismissive Oglethorpe is towards sexual assault

survivors. The video named certain Deans of the University who were particularly

awful. Rather than punish students who do bad things, these Deans will punish

students who report bad things, intimidating them into silence. As the video says,

“…that is the scariest part of this.” According to the video, victim blaming is

pervasive by Oglethorpe in an attempt to bury the complaints and bury the

problems.

      42.    In addition to the video, there is an Instagram account entitled “The

Other Petrels” (handle is @theotherpetrels) set up by students at Oglethorpe who

have been oppressed by Oglethorpe, particularly sexual assault survivors. These

accounts paint a disturbing pattern of sexual assault at Oglethorpe as well as a

                                          11
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 12 of 33




disturbing pattern of gross mishandling of these sexual assault complaints by

Oglethorpe and/or zero acknowledgement or help at all by Oglethorpe. There are

over 35 different accounts of rape and accounts of Oglethorpe’s mishandling

of that rape detailed on just this one Instagram page. A few of the accounts are

listed below:




                                       12
Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 13 of 33




                               13
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 14 of 33




      43.    Upon information and belief, Plaintiff’s orientation leader described

another prior incident of sexual assault at Oglethorpe prior to 2017, where the

orientation leader said that the assailant was allowed to remain on campus even

after the school became aware of the rape. The assailant was expelled from campus

only after multiple protests and outrage from students.




                                         14
         Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 15 of 33




         44.      Colleges also have a notorious reputation for protecting their athletes

from accusations of sexual assault and from consequences that flow from those

accusations, often handing down lighter than normal sanctions that do not result in

expulsion or removal from campus. This failure to remove the assailants from

campus means that the sexual assault survivors are forced to see their attackers and

come into contact with their attackers on a regular basis which results in

re-victimization and trauma.

         45.      According to the Rape, Abuse & Incest National Network, sexual

violence on campus is pervasive.

         ● 13% of all students experience rape or sexual assault through physical
           force, violence, or incapacitation (among all graduate and undergraduate
           students).2

         ● Among graduate and professional students, 9.7% of females and 2.5% of
           males experience rape or sexual assault through physical force, violence,
           or incapacitation.3

         ● Among undergraduate students, 26.4% of females and 6.8% of males
           experience rape or sexual assault through physical force, violence, or
           incapacitation.4




2
   David Cantor, Bonnie Fisher, Susan Chibnall, Reanna Townsend, et. al. Association of American Universities
(AAU), Report on the AAU Campus Climate Survey on Sexual Assault and Sexual Misconduct (January 17, 2020).
(“Victim services agency” is defined in this study as a “public or privately funded organization that provides victims
with support and services to aid their recovery, offer protection, guide them through the criminal justice process, and
assist with obtaining restitution.”
3
  Id.
4
  Id.

                                                          15
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 16 of 33




      46.    This history of sexual violence at Oglethorpe and Oglethorpe’s history

of inadequate response and/or no response even with the knowledge of the

prevalence of sexual assault on its campus and on college campuses in general has

led to a sexually hostile culture on campus that allowed Plaintiff’s rape to occur.

             VI.    PLAINTIFF’S RAPE AND SUBSEQUENT REPORT

      47.    On the night of Saturday, April 28, 2019, Plaintiff and Assailant

agreed to attend an initiation for a sorority together. Prior to the initiation party,

Plaintiff and Assailant decided to hang out in Assailant’s dorm room on campus.

      48.    Shortly after Assailant and Plaintiff arrived at Assailant’s dorm room,

Plaintiff and Assailant sat down on Assailant’s chair together and Assailant started

making sexual advances towards Plaintiff, pressuring her to have sex.

      49.    Plaintiff firmly and clearly stated to Assailant “NO” and said that she

did not want to have sex with Assailant and clearly stated that she could not have

sex with Assailant. Despite Plaintiff’s wishes, Assailant became more aggressive

towards Plaintiff and continued to pressure Plaintiff for sex, ignoring Plaintiff’s

clearly nonconsensual statements. Plaintiff pulled away from Assailant at this point

and backed away.




                                          16
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 17 of 33




      50.    Plaintiff again clearly and explicitly told Assailant she did not want to

have sexual intercourse with Assailant. Plaintiff was in fear for her life as Assailant

was an experienced and conditioned athlete as a track and field star for Oglethorpe.

      51.    Plaintiff sat down on Assailant’s bed to compose herself. Assailant

came over to the bed and got on top of Plaintiff. At this point, Plaintiff froze with

fear and shock as Assailant got on top of her and raped her.

      52.    After the rape, Assailant forced Plaintiff to delete the sexually explicit

text messages which Assailant had sent to Plaintiff, knowing that they could

possibly implicate him down the road. Assailant also called Plaintiff to notify her

that his ex-girlfriend had found out about the incident. Assailant offered no

apology or explanation to Plaintiff after raping her. Nothing. All Assailant thought

about was himself.

      53.    Following the sexual assault, Plaintiff called her friend to tell her what

had happened with Assailant. This friend told Plaintiff that she needed to speak

immediately with another female student who had also been raped by Assailant

within days of one other. This other female student told Plaintiff that she had

reported Assailant to the Title IX office at the University. This other female student

also told Plaintiff that there was a third woman who Assailant had raped on

campus. Assailant had threatened this third woman into silence, allegedly

                                          17
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 18 of 33




confronting her at a volleyball practice and preventing her from making a report to

the University. Assailant got so aggressive towards this third woman when he

confronted her that a student coach at the time had to intervene to protect the

woman from harm.

      54.    Following the sexual assault, Plaintiff did not want another student

such as herself to be raped by Assailant. Plaintiff voluntarily reached out to the

Title IX office to bravely report her assault on or around May 2, 2019.

      55.    Following the submission of Plaintiff’s written statement reporting her

assault, Oglethorpe mishandled and delayed the administration of the Title IX

investigation, offering Plaintiff virtually no support, resources or protection during

the investigation.

       VII. OGLETHORPE SUBJECTS PLAINTIFF TO A CONTINUING
                   HOSTILE ENVIRONMENT

      56.    Following the April 2019 sexual assault, Plaintiff continued to feel the

sexually hostile effects of Oglethorpe’s policies, or lack of administration thereof,

during her time at Oglethorpe.

      57.    Plaintiff was forced to face Assailant around campus, as Oglethorpe

failed to remove Plaintiff’s rapist from its institution and/or offer Plaintiff any sort

of protection.



                                           18
         Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 19 of 33




         58.     The   result   of Oglethorpe’s continued sexually hostile and

discriminatory policies combined with Plaintiff being required to see her rapist on

campus created a highly hostile educational environment for Plaintiff on a daily

basis.

         59.     Throughout this entire period of time, Oglethorpe was clearly on

notice of a report that one of their female students, Plaintiff, was raped by an

Oglethorpe track and field athlete. To make matters worse, Oglethorpe was also

aware of a report of another female student who had been raped by Assailant prior

to Plaintiff’s incident. And yet Assailant remained on campus with no restrictions,

endangering Plaintiff’s and other women’s safety in the interim.

         60.     As a result, Oglethorpe had control over both the offender and had the

ability to address its effects and prevent a rape recurrence. Yet, Oglethorpe

continued to allow the assailant to roam free on campus with little to no protection

for Plaintiff.

                   VIII. OGLETHORPE’S RESPONSE AND POLICIES

         A.      Oglethorpe’s Response.

         61.     Despite the federal government’s recommendation that investigations

resolve within 60 days, Plaintiff’s investigation extended this time period by over a

month, lasting in total over 90 days. Given that Plaintiff had little to no

                                            19
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 20 of 33




involvement nor any information throughout the process, the Title IX process

should never have taken this long.

      62.    Further, and even more notably, the perpetrator was not pulled off the

roster or pulled off the track and field team while the investigation was pending.

This leads to an inference that Oglethorpe deliberately extended the investigation

to avoid the risk of Plaintiff going public with her report. Finally, it leads to an

inference that the report was not communicated or reported in any way to the

Athletics program which Plaintiff’s assailant was involved in as an Oglethorpe

track and field athlete.

      63.    Plaintiff finally received the decision from Oglethorpe regarding her

report of rape and sexual assault on August 6, 2019. Oglethorpe found Assailant

responsible for Sexual Assault and Sexual Harassment. However, most

surprisingly, Oglethorpe did not find Assailant responsible for Rape.

      64.    The sanctions that Oglethorpe issued to Assailant after the first

decision for a harrowing incident of sexual assault and sexual harassment were

nothing more than a slap on the wrist. Assailant was allowed to remain on campus.

The school did not even offer a no-contact order to Plaintiff.

      65.    Assailant then appealed the decision. Plaintiff had to go through

another hearing. The Title IX office lost the recorded audio file from the first

                                          20
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 21 of 33




investigative hearing and decided to blame the misplacement of the audio file on a

“power surge”. The second decision from the University after the appeal again

found Assailant responsible for Sexual Assault and Sexual Harassment but not

Rape. This time around, the sanctions were even less severe. The school allowed

Assailant to sign up for the same classes as Plaintiff. Assailant was also allowed to

remain on campus. Plaintiff had to take it upon herself to go to the Associate Dean

of Students, set up an appointment with the Dean, and ensure that she had no

classes with the Assailant.

      66.    Plaintiff appealed both decisions saying that the punishment was not

severe enough. However, Plaintiff’s appeals fell on deaf ears. The University did

not care.

      67.    Oglethorpe’s response, or lack thereof, to Plaintiff’s rape is

unconscionable. In sum, Oglethorpe declined to take any sufficient action in the

wake of Plaintiff’s report of rape.

      68.    Thus, Oglethorpe’s own response established that it did not adhere to

or administer Title IX policies appropriately, and further, that the policies as set

forth below perpetuated a rape culture and caused and exacerbated Plaintiff’s

damages.

      B.     Oglethorpe’s Policies.

                                         21
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 22 of 33




      69.    In addition to violating Oglethorpe’s own Title IX policies,

Oglethorpe further demonstrated the following policies which are not in keeping

with federal law, and which served to exacerbate Plaintiff’s rape and cause her

additional damages.

      C.     Policy of No or Little Discipline.

      70.    Despite Plaintiff’s credible report of rape, Oglethorpe initially chose

not to suspend, remove or expel the Assailant from campus. Oglethorpe also

allowed Assailant to sign up for the same classes as Plaintiff.

      D.     Policy of Inadequate Education of Staff/Students.

      71.    Oglethorpe failed to adequately train students and staff about Title IX.

Plaintiff and likely other women on campus are unaware of what resources were

available to them and were/unaware of Title IX or how Oglethorpe’s Title IX office

could help. Oglethorpe provided no security or protection to Plaintiff after she

reported her rape. Oglethorpe failed to provide a no-contact order to Plaintiff as an

option after she reported her rape. As far as the mishandling and inadequate

response to Plaintiff’s credible report of rape with no removal of Assailant, it leads

to the conclusion that Oglethorpe wholly failed to train responsible employees

under Title IX.

                        X.     OGLETHORPE’S DUTIES

                                          22
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 23 of 33




      72.    As a University seeking to educate students and profit from that

relationship, Oglethorpe owed Plaintiff a duty of reasonable care. Reasonable care

is the degree of caution and concern for the safety of students that an ordinarily

prudent and rational University may apply in the same circumstances. Sadly,

universities seek to evade this standard rather than adhere to any degree of

reasonableness when it comes to the safety of students.

      73.    More specifically, Oglethorpe had a duty to act as a reasonable

university and apply a reasonable degree of care in hiring, training, and supervising

employees and faculty that interact with students throughout the Title IX process;

and/or that apply and enact the University’s own policies and procedures.

      74.    Finally, Oglethorpe possessed superior knowledge of the risks to

Plaintiff, and had the ability to control its employees (who tolerated Plaintiff’s

sexual assault by an athlete) and the Assailant (who could have been more

adequately disciplined under Oglethorpe’s sexual misconduct policies).

      75.     In sum, Oglethorpe can and did have a duty to Plaintiff, as well as

other students, outside of the existence of a “special relationship.” Plaintiff can

establish duties owed, as well as violations of said duties, which are not dependent

on the existence of a special relationship.




                                          23
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 24 of 33




      76.   Oglethorpe breached its duties to Plaintiff in multiple ways, including

by:

      a.    Failing to properly and/or adequately hire, train, and supervise
            employees and faculty as to proper methods of dealing with reports of
            sexual abuse, and investigate same and accommodate victims in a
            manner that would permit them without undue hindrance, to complete
            their higher education;

      b.    Failing to properly and timely report incidents or claims of sexual
            assault;

      c.    Failing to provide adequate counseling and assistance to victims of
            sexual assault;

      d.    Failing to adequately monitor and supervise departments, including
            athletic departments, to ensure compliance with protections and
            standards for sexual assault prevention, reporting, and investigation;

      e.    Failing to discover, develop, and/or implement basic safeguards
            designed to prevent and/or minimize incidents of sexual assault;

      f.    Failing to investigate and/or monitor persons accused of sexual assault
            to ensure additional events and/or harassment of victims did not
            occur;

      g.    Failing to adopt and implement adequate safeguards to prevent known
            sexual harassment occurring on campus;

      h.    Failing to provide adequate staff, with proper training, to counsel and
            assist victims of sexual assault;

      i.    Tolerating sexual assailants on campus despite reports to the highest
            levels of their identities; and despite reports that they continue to bully
            and/or harass their victims online and/or in person;



                                         24
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 25 of 33




      j.     Failing to adopt education programs to promote awareness of rape,
             acquaintance rape, and other sex crimes;

      k.     Failing to adopt and enforce institutional sanctions for sex offenses,
             both forcible and non-forcible;

      l.     Failing to adopt and enforce procedures students should follow if they
             become sexual assault victims, including who should be contacted, the
             importance of retaining evidence, and to whom the offense should be
             reported;

      m.     Failing to notify sexual assault victims about counseling services and
             options for changing academic schedules and living arrangements in
             the wake of a sexual assault;

      n.     Failing to put in place an accurate routine procedure to notify the
             campus community about serious criminal activity that is likely to be
             a threat to students and employees;

      o.     Failing to adopt and periodically review procedures to make sure they
             are adequate to address complaints of serious sexual misconduct;

      p.     Failing to develop a clear policy about which kinds of sexual offenses
             will be handled internally and which will be turned over to the
             criminal authorities; and

      q.     Failing to make the goal of protecting the campus community from
             sexual assaults and harassment an integral part of the institution’s
             day-to-day mission.

      77.    The above breaches of Defendant Oglethorpe’s duties of reasonable

care, which flow to all students including Plaintiff, were the proximate cause of

substantial injury and damage to Plaintiff, as more specifically described herein.




                                         25
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 26 of 33




      78.    These damages include, without limitation, great pain of body and

mind, physical injury, shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and

loss of enjoyment of life; which Plaintiff has suffered and continues to suffer

spiritually. Plaintiff was prevented and will continue to be prevented from

performing her daily activities and obtaining the full enjoyment of life; has

sustained and will continue to sustain loss of earnings and earning capacity; and/or

has incurred and will continue to incur expenses for medical and psychological

treatment, therapy, and counseling.

                           XI.    CAUSES OF ACTION

A.    COUNT 1: DISCRIMINATION UNDER TITLE IX: SEXUALLY
      HOSTILE CULTURE (Violation of Title IX of the Education
      Amendments of 1972, 20 U.S.C. § 1681(a))

      79.    Plaintiff incorporates by reference all preceding facts and allegations

set forth above in Paragraphs 1 through 78.

      80.    Oglethorpe was deliberately indifferent to a culture of sexual hostility

and violence instituting and/or mis-administering the policies cited herein,

including without limitation:

      • Violating its own policies set forth under Title IX;

      • Policy of no or little discipline;

                                             26
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 27 of 33




      • Policy of interference with female students’ access to help;

      • Policy of not educating staff/students.

      81.    Oglethorpe’s sexually hostile policies and practices were a proximate

cause of Plaintiff being subjected to multiple semesters of sexual harassment in the

form of (1) a hostile educational environment, and (2) ongoing pain, mental

anguish, and harassment by forcing her to interact with her assailant.

      82.    The mental pain and anguish that Plaintiff suffered was so severe,

pervasive, and objectively offensive that it effectively barred her access to

educational opportunities and benefits.

      83.    As a direct and proximate result of Oglethorpe’s creation of and

deliberate indifference to its sexually hostile educational environment, Plaintiff

suffered damages and injuries for which Oglethorpe is liable.

B.    COUNT 2: GENDER DISCRIMINATION UNDER TITLE IX:
      DELIBERATE INDIFFERENCE TO PLAINTIFF’S RAPE (Violation
      of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a))

      84.    Plaintiff incorporates by reference all preceding facts and allegations

set forth above in Paragraphs 1 through 83.

      85.    Oglethorpe was on notice and aware of Plaintiff’s rape as well as the

identity of the student-athlete assailant at numerous points in time.




                                          27
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 28 of 33




      86.    Oglethorpe deliberately chose not to remove the assailant from

campus, even after the rape of Plaintiff and her subsequent report.

      87.    Such failure to adequately discipline the assailant was clearly

unreasonable.

      88.    Oglethorpe’s deliberate indifference to Plaintiff’s rape exposed her to

continued mental pain and anguish and sexual harassment which was so severe,

pervasive, and objectively offensive that it effectively barred her access to

meaningful educational opportunities and benefits including academics, athletic

programs, and on-campus events and activities.

      89.    As a direct and proximate result of Olgethorpe’s deliberate

indifference to Plaintiff’s rape, Plaintiff suffered damages and injuries for which

Oglethorpe is liable.

C.    COUNT 3: GEORGIA TORT LAW – NEGLIGENCE

      90.    Oglethorpe owed Plaintiff a duty of reasonable care. Oglethorpe

breached their duty in multiple ways including:

      a. Failing to proper hire, train and retain officers, staff and faculty as to
         proper methods to deal with reports of sexual abuse, investigate same and
         accommodate victims in a manner that would permit them to without
         undue hindrance, and complete their higher education;

      b. Failing to properly and timely report incidents of sexual assault;



                                         28
Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 29 of 33




c. Failing to provide adequate counseling and assistance to victims of sexual
assault;

d. Failing to adequately monitor and supervise departments, including
athletic departments, to ensure compliance with protections and standards
for sexual assault prevention, reporting and investigation;

e. Failing to discover, develop and/or implement basic safeguards designed
to prevent and/or minimize incidents of sexual assault;

f. Failing to investigate and/or monitor persons accused of sexual assault to
ensure additional events did not occur;

g. Failing to adopt and implement adequate safeguards to prevent known
sexual harassment occurring on campus;

h. Failing to provide adequate staff, with proper training, to counsel and
assist victims of sexual assault;

i. Tolerating sexual assailants on campus despite reports to the highest levels
of their identities;

j. Failing to adopt education programs to promote awareness of rape,
acquaintance rape, and other sex crimes;

k. Failing to adopt and enforce institutional sanctions for sex offenses, both
forcible and non-forcible;

l. Failing to adopt and enforce procedures students should follow if they
become sexual assault victims, including who should be contacted, the
importance of retaining evidence, and to whom the offense should be
reported;

m. Failing to notify sexual assault victims about counseling services and
options for changing academic schedules and living arrangements in the
wake of a sexual assault and address or protect against retaliation in the
wake of reporting a sexual assault;

                                   29
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 30 of 33




      n. Failing to put in place an accurate routine procedure to notify the campus
      community about serious criminal activity that is likely to be a threat to
      students and employees;

      o. Failing to adopt and periodically review procedures to make sure they are
      adequate to address complaints of serious sexual misconduct.

      p. Failing to develop a clear policy about which kinds of sexual offenses will
      be handled internally and which will be turned over to the criminal
      authorities; and

      q. Failing to make the goal of protecting the campus community from sexual
      assaults and harassment an integral part of the institution’s day-to-day
      mission of providing a safe and secure learning and working environment.

      91.    The above enumerated breaches of duties were the proximate cause of

substantial injury and damage to Plaintiff, as more specifically described herein.

      92.    These damages include, without limitation, great pain of mind and

body, physical injury, shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and

loss of enjoyment of life; which Plaintiff has suffered and continues to suffer

spiritually. Plaintiff was prevented and will continue to be prevented from

performing her daily activities and obtaining the full enjoyment of life; has

sustained and will continue to sustain loss of earnings and earning capacity; and/or

has incurred and will continue to incur expenses for medical and psychological

treatment, therapy, and counseling.

                                         30
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 31 of 33




D.    COUNT 3: GEORGIA LAW – BREACH OF CONTRACT

      100. Plaintiff had a valid, enforceable contract with Oglethorpe as an

academic enrollee, and also as a resident living in on-campus housing.

      101.     Oglethorpe breached this contract in failing to adequately warn

Plaintiff of the dangerous sexual assault conditions on campus that have been

allowed to metastasize in light of inadequate investigation procedures and student

support activities.

      102.     Oglethorpe also breached this contract by failing to provide an

adequately safe living and educational environment for Plaintiff, and by failing to

maintain an adequately safe living and educational environment for Plaintiff after

her reported rape.

      103. As a result of these breaches of contract, Plaintiff suffered damages

which were foreseeable, and for which recovery is now requested.

                            XIII. ATTORNEYS FEES

      104. As a result of this action, Plaintiff has retained the undersigned to

represent her in her claims against Oglethorpe. Accordingly, Plaintiff seeks

attorneys’ fees incurred pursuant to Title IX.




                                          31
      Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 32 of 33




      105. Plaintiff thus requests award of reasonable and necessary attorneys’

fees for this action. See, e.g., 42 U.S.C. §§ 1983 & 1988. Plaintiff also requests

reasonable and necessary attorneys’ fees for her breach of contract claim.

                              XIV. JURY DEMAND

      106. Plaintiff made a good faith effort to resolve this matter prior to the

filing of this lawsuit. Plaintiff asserts her right under the Seventh Amendment to

the U.S. Constitution and in accordance with Federal Rule of Civil Procedure 38,

respectfully demands a jury trial on all issues.

                           XV.   RELIEF REQUESTED

      107. For the foregoing reasons, Plaintiff respectfully requests that the Court

enter judgment against Defendant Oglethorpe consistent with the relief requested

herein, and for any and all other relief to which Plaintiff may be justly entitled

including actual damages, compensatory damages, nominal damages, punitive

damages, court and litigation costs, expert fees, attorneys’ fees, statutory interest,

and pre- and post-judgment interest.




                                          32
Case 1:21-mi-99999-UNA Document 922 Filed 03/30/21 Page 33 of 33




                       Respectfully submitted,

                       /s/ Quynh-Huong “Betty” Nguyen Davis
                       Quynh-Houng “Betty” Nguyen Davis
                       Georgia Bar No: 141293
                       THE DAVIS INJURY FIRM LLC
                       55 Ivan Allen, Jr. Blvd. NW, Suite 700
                       Atlanta, GA 30308
                       Telephone: (404) 593-2620
                       Facsimile: (678) 253-0237
                       Email: betty@bettydavislaw.com

                       Anthony G. Buzbee
                       (Texas Bar No. 24001820)*
                       Cornelia Brandfield-Harvey
                       (Texas Bar No. 24103540)*
                       THE BUZBEE LAW FIRM
                       600 Travis Street, Suite 7300
                       Houston, Texas 77002
                       Telephone: (713) 223-5393
                       Facsimile: (713) 223-5909
                       Email: tbuzbee@txattorneys.com
                       Email: cbrandfieldharvey@txattorneys.com

                       *(Motions for pro hac vice forthcoming)

                             Counsel for Plaintiff




                               33
